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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
                                                             :
SYNTEL STERLING BEST SHORES                                  :
MAURITIUS LIMITED, et al.,                                   :
                                                             :   15 Civ. 211 (LGS)
              Plaintiffs/Counterclaim-Defendants, :
                                                             :        ORDER
                           -against-                         :   (Defendants’ MIL 6)
                                                             :
THE TRIZETTO GROUP, et al.,                                  :
                                                             :
              Defendants/Counterclaim-Plaintiffs. :
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LORNA G. SCHOFIELD, District Judge:

        It is ORDERED that for the reasons stated at today’s telephonic status conference, the

motion in limine No. 6 filed by Defendants/Counterclaim-Plaintiffs The TriZetto Group, Inc. and

Cognizant Technology Solutions Corp. (together, “Defendants”) (Dkt. No. 710), and

Defendants’ application maintaining their objections to the transition rebates evidence (Dkt. No.

890) are DENIED.

        The Clerk of Court is respectfully directed to correct the docket entry at Dkt. No. 864,

which incorrectly states that the motion in limine at Dkt. No. 710 was granted. Instead, the

docket entry should read “ORDER (Defendants’ MIL 6) regarding 710 Motion in Limine.”


Dated: October 16, 2020
       New York, New York
